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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISON

RIPPY OIL COMPANY                               §
Plaintiff,                                      §
                                                §
v.                                              §      CA No. 4:22-cv-00276
                                                §
ACE AMERICAN INSURANCE COMPANY,                 §
CHARTIS SPECIALTY INSURANCE                     §
COMPANY N/K/A AIG SPECIALTY                     §
INSURANCE COMPANY, AND RISK                     §
SPECIALISTS COMPANIES INSURANCE                 §
AGENCY, INC.                                    §
Defendant.                                      §      (JURY DEMANDED)

     JOINT DISCOVERY/CASE MANAGEMENT PLANUNDER RULE 26(f)
               FEDERAL RULES OF CIVIL PROCEDURE

TO THE UNITED STATES DISTRICT COURT:

      COMES NOW, Plaintiff, Rippy Oil Company, (hereinafter “Rippy Oil”),

Defendants ACE American Insurance Company (“ACE”), AIG Specialty Insurance

Company formerly known as Chartis Specialty Insurance Company (“AIG”) and files the

following Joint Discovery/Case Management Plan pursuant to the Court’s Order for

Conference and Disclosure of Interested Parties (DOC. 5).

1.    State where and when the meeting of the parties required by Rule 26(f) was
      held and identify the counsel who attended for each party.

       The Initial Rule 26(f) meeting of the parties occurred by telephone on May 6, 2022.
       Mike Morris with Taylor, Book, Allen & Morris, LLC represented Plaintiff Rippy
       Oil Company. Thear Jules Lemoine with Brown Sims PC represented Defendant
       ACE American Insurance Company. Robert Irwin Siegel with Gieger, Laborde &
       Laperouse, LLC represented Defendants AIG Specialty Insurance Company and Risk
       Specialists Companies Insurance Agency, Inc.

2.    List the cases related to this one that are pending in any state or federal court
      with the case number and court.

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      The underlying lawsuit made the basis of this liability insurance coverage dispute is
      Cause No. 0-10-498; styled Rippy Oil Company, et al. v. Knight Oil Tools, et al.; In
      the 278th Judicial District Court for Leon County, Texas (hereinafter “Underlying
      Lawsuit”).

      Civil Action No. 6:21-CV-0419-RRS CBW; AIG Specialty Insurance Company
      (f/k/a Chartis Specialty Insurance Company) v. Knight Oil Tools, Inc.; In the United
      States District Court, Western District of Louisiana, Lafayette Division.

3.    Briefly describe what this case is about.

      The judgment creditor and alleged third-party beneficiary, Plaintiff Rippy Oil brings
      a breach of contract and declaratory judgment action against Defendants ACE, AIG
      and Risk Specialists seeking to satisfy a Final Judgment in the Underlying Tort
      Lawsuit.

4.    Specify the allegation of federal jurisdiction.

      On January 27, 2022 Defendants AIG and Risk Specialists removed the state court
      breach of contract and declaratory judgment lawsuit filed by Plaintiff Rippy Oil on
      the basis of diversity jurisdiction pursuant to 28 U.S.C. §1332 (DOC. 1). Defendant
      ACE filed a Notice of Consent to Removal on January 27, 2022 (DOC. 3).

5.    Identify the parties who disagree and the reasons.

      Not applicable.

6.    List anticipated additional parties that should be included, when they can be
      added, and by whom they are wanted.

      None at this time.

7.    List anticipated interventions.

      None at this time.

8.    Describe class-action or collective-action issues.

      Not applicable.

9.    State whether each party represents that it has made the initial disclosures
      required by Rule 26(a). If not, describe the arrangements that have been made
      to complete the disclosures.


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       Initial disclosures pursuant to Rule 26(a)(1)(C) will be made by the parties 14 days
       after the May 6, 2022 Rule 26(f) meeting of the parties or on or before May 20,
       2022.

10.    Describe the proposed agreed discovery plan, including:

       A.     Responses to all the matters raised in Rule 26(f), including any
              agreements reached concerning electronic discovery and any disputed
              issues relating to electronic discovery.

              The parties have discussed entering into a Stipulation regarding the factual
              record and pleadings, verdict, and judgment in the Underlying Tort Lawsuit
              that might enable the Court to resolve the coverage dispute on cross-
              motions for summary judgment.

       B.     When and to whom the plaintiff anticipates it may send interrogatories.

              If the parties are unable to agree on the stipulation of the records from the
              Underlying Tort Lawsuit or other necessary stipulation of facts, Plaintiff
              Rippy Oil will send interrogatories and requests for production to
              Defendants by July 15, 2022.

       C.     When and to whom the defendant anticipates it may send
              interrogatories.

              If the parties are unable to agree on a stipulation of the record in the
              Underlying Tort Lawsuit or a stipulation of facts, Defendants will send
              interrogatories and requests for production to Plaintiff Rippy Oil by July 15,
              2022.

       D.     Of whom and by when the plaintiff anticipates taking oral depositions.

              Plaintiff Rippy Oil anticipates taking the following oral depositions:
                    1. Defendants’ Adjusters who issued any denial of coverage or
                        reservation of rights letters, or otherwise are currently attempting
                        to deny coverage for the final judgment entered in the Underlying
                        Tort Lawsuit;
                    2. Defendants underwriters who issued the policies in question.
                    3. Defendants’ Corporate Representatives regarding coverage for the
                        judgment in the Underlying Tort Lawsuit; and
                    4. Any expert designated by Defendants ACE, AIG and Risk
                        Specialists.


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       Plaintiff Rippy Oil Company anticipates it can complete all depositions by
       November 2, 2022.

 E.    Of whom and by when the defendant anticipates taking oral depositions.
       AIG and Risk Specialists believes that no discovery is warranted by any
       party. The competing DJs filed in In the United States District Court,
       Western District of Louisiana, Lafayette Division and here both involve
       whether a verdict and judgment awarded in the Underlying Lawsuit are
       covered by the AIG policy. The only evidence needed for this determination
       is the AIG Policy and the record from the Underlying Lawsuit.

       ACE does not anticipate the need for and reserves the right to object to the
       taking of depositions.


 F.    When the plaintiff (or the party with the burden of proof on an issue)
       will be able to designate experts and provide the reports required by
       Rule 26(a)(2)(B), and when the opposing party will be able to designate
       responsive experts and provide their reports.

       Plaintiff Rippy Oil can designate experts and provide the reports required by
       Rule 26(a)(2)(B) on September 1, 2022.

       Defendants AIG, ACE, and Risk Specialists can designate experts and provide the
       reports required by Rule 26(a)(2)(B) on October 1, 2022.

 G.    List expert depositions the plaintiff (or the party with the burden of
       proof on an issue) anticipates taking and their anticipated completion
       date. See Rule 26(a)(2)(B) (expert report).

       Plaintiff Rippy Oil anticipates taking the deposition of any expert designated by
       Defendants ACE, AIG and Risk Specialists on or before November 2, 2022.

 H.    List expert depositions the opposing party anticipates taking and their
       anticipated completion date. See Rule 26(a)(2)(B) (expert report).

       Defendants anticipate taking the deposition of any expert designated by Plaintiff
       Rippy Oil on or before November 2, 2022. AIG and Risk Specialists believe that
       experts are inappropriate in a case that purely involves a legal interpretation of
       insurance policies.




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       I.      In a case involving parties that are unincorporated entities, such as an
               LLC or LLP, state the citizenship of every member and file an affidavit
               or declaration setting out the citizenship of every member.

               See Affidavit of James R. Rippy regarding Plaintiff Rippy Oil Company and
               its working interest owners including Rippy Interest LLC, whose members
               are citizens of the State of Texas. (DOC. 23-1)

11.    If the parties are not agreed on a part of the discovery plan, describe the
       separate views and proposals of each party.

       Not applicable

12.    Specify the discovery beyond initial disclosures that has been undertaken to
       date.

       None at this time.

13.    State the date the planned discovery can reasonably be completed.

       December 2, 2022

14.    Describe the possibilities for a prompt settlement or resolution of the case that
       were discussed in your Rule 26(f) meeting.

       The parties discussed the fact that the parties in the Underlying Tort Lawsuit have
       attended non-binding mediation twice without resolution of the case. The parties
       are continuing to discuss settlement by and through their attorneys.

15.    Describe what each party has done or agreed to do to bring about a prompt
       resolution.
      The parties have attended non-binding mediation twice in the current coverage lawsuit in
      the Underlying Tort Lawsuit without resolution but continue to conduct informal
      conversations through their attorneys regarding resolution of the case. Settlement has not
      been reached at this time.

16.    From the attorneys’ discussion with the client, state the alternative dispute
       resolution techniques that are reasonably suitable, and state when such a
       technique may be effectively used in this case.
       Plaintiff Rippy Oil is agreeable to attending non-binding mediation of the coverage
       litigation with representatives of Defendants ACE, AIG and Risk Specialists.



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17.    Magistrate judges may now hear jury and non-jury trials. Indicate the parties’
       joint position on a trial before a magistrate judge.

       The parties do not consent to trial before a Magistrate Judge.

18.    State whether a jury demand has been made and if it was made on time.

       Plaintiff Rippy Oil demanded a jury and paid the jury fee in Texas State District
       Court upon the filing of its Original Petition in state court and continues to
       demand trial by jury after Defendants ACE, AIG and Risk Specialists removed
       this case to Federal Court.

19.    Specify the number of hours it will take to present the evidence in this case.

       Defendants ACE, AIG and Risk Specialists believe that the trial court can resolve
       the coverage dispute by cross-motions for summary judgment based on the record
       in the Underlying Tort Lawsuit. Plaintiff Rippy Oil believes the Court may consider
       coverage evidence beyond the factual record on pleadings in the Underlying Tort
       Lawsuit. If it is necessary to try any fact disputes, the parties estimate that the jury
       trial will take 36 hours.

20.    List pending motions that could be ruled on at the initial pretrial and
       scheduling conference.

       Defendants AIG and Risk Specialists have filed a Motion to Dismiss Or, In the
       Alternative, to Transfer or Stay (DOC. 4 );

       Defendant ACE has filed a Joinder in AIG’s Motion to Dismiss Or, In the
       Alternative, to Transfer or Stay (DOC. 8);

       Plaintiff Rippy Oil has filed a Response in Opposition to Defendants’ Motion to
       Dismiss Or, In the Alternative, Motion to Transfer or Stay (DOC. 13);

       Defendants AIG and Risk Specialists have filed a Reply Memorandum in Support
       of their Motion to Dismiss, Or, In the Alternative, to Transfer or Stay (DOC. 30);
       and

       Defendant ACE American Insurance Company has filed a Reply in support of its
       Joinder (DOC. 32).

21.    List other motions pending.

       None at this time.


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22.    List issues or matters, including discovery that should be addressed at the
       conference.

       None at this time.

23.    Certify that all parties have filed the Disclosure of Interested Persons as
       directed in the Order for Conference and Disclosure of Interested Persons,
       listing the date of filing for original and any amendments.
        All parties have filed Certificates of Interested Parties and Corporate Disclosures
        Statements as follows:

        1. Plaintiff Rippy Oil
               a. Certificate of Interested Parties filed on February 18, 2022 (DOC. 11);
               b. Amended Certificate of Interested Parties filed on February 25, 2022 (DOC.
                   16);
               c. Corporate Disclosure Statement filed on February 25, 2022 (DOC. 15).

        2. Defendant ACE American Insurance Company:
              a. Certificate of Interested Parties filed on February 18, 2022 (DOC. 12);
              b. Corporate Disclosure Statement filed on February 18, 2022 (DOC. 13).

        3. Defendant AIG Specialty Insurance Company, formerly known as Chartis
             Specialty Insurance Company:
                a. Certificate of Interested Parties filed on February 16, 2022 (DOC. 10);
                b. Corporate Disclosure Statement filed on January 27, 2022 (DOC. 2).

        4.   Defendant Risk Specialists Companies Insurance Agency, Inc.:
               a. Certificate of Interested Parties filed on February 16, 2022 (DOC. 10);
               b. Corporate Disclosure Statement filed on February 7, 2022 (DOC. 7).

24.    List the names, bar numbers, addresses, and telephone numbers, and emails of
       all counsel and unrepresented parties.
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Respectfully submitted,

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